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                                                                                    1   Marsha A. Houston (SBN 129956)
                                                                                        Jonathan D. Gershon (SBN306979)
                                                                                    2   Matthew E. Tashman (Pro Hac To Be Filed)
                                                                                        REED SMITH LLP
                                                                                    3   355 South Grand Avenue, Suite 2900
                                                                                        Los Angeles, CA 90071-1514
                                                                                    4   Telephone: 213.457.8000
                                                                                        Facsimile: 213.457.8080
                                                                                    5
                                                                                        Attorneys for Plaintiff
                                                                                    6   Wells Fargo Bank, National Association
                                                                                    7

                                                                                    8                      UNITED STATES DISTRICT COURT
                                                                                                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                                                                    9                      WESTERN DIVISION LOS ANGELES
                                                                                   10
                                                                                        WELLS FARGO BANK, NATIONAL                 No.: 2:20-cv-06191
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   ASSOCIATION,
                                                                                                     Plaintiff,
                                                                                   12                                              COMPLAINT:
                                                                                              vs.                                  (1) BREACH OF CONTRACT
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                                                                                   13                                              (KOP);
                                                                                        KURT ORBAN PARTNERS, LLC, a                (2) MONEY LENT (KOP);
                                                                                   14   California limited liability company;      (3) BREACH OF MATT ORBAN
                                                                                        KURT MATTHEW ORBAN, an                     GUARANTY (MATT ORBAN);
                                                                                   15   individual,                                (4) SPECIFIC PERFORMANCE
                                                                                                                                   AND APPOINTMENT OF
                                                                                   16                                              RECEIVER (KOP);
                                                                                                                 Defendant.        (5) CLAIM AND DELIVERY (KOP);
                                                                                   17                                              AND
                                                                                                                                   (6) INJUNCTIVE RELIEF
                                                                                   18

                                                                                   19

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                                                                                    Case 2:20-cv-06191-DSF-JEM Document 1 Filed 07/10/20 Page 2 of 20 Page ID #:2



                                                                                    1            Plaintiff Wells Fargo Bank, National Association (“Plaintiff” or the
                                                                                    2   “Administrative Agent”), alleges as follows:1
                                                                                    3                                           GENERAL ALLEGATIONS
                                                                                    4            The Parties
                                                                                    5            1.       Plaintiff is a national banking association duly organized and existing
                                                                                    6   under the laws of the United States of America. Plaintiff has designated its main
                                                                                    7   office as located in South Dakota. At all times relevant to the matters set forth herein,
                                                                                    8   Plaintiff was and is qualified to transact banking business in the State of California.
                                                                                    9            2.       The Administrative Agent is duly appointed to act for the lenders
                                                                                   10   (collectively, the “Lenders”) party to the Credit Agreement (as more fully described
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   and defined below; capitalized terms used and not otherwise defined herein shall have
                                                                                   12   the meanings ascribed to them in the Credit Agreement). Such appointment includes
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                                                                                   13   the right to take such actions and to exercise such powers as delegated to the
                                                                                   14   Administrative Agent in the Credit Agreement and to act as the "collateral agent"
                                                                                   15   under the Loan Documents for purposes of enforcing any and all Liens on Collateral
                                                                                   16   granted by any of the Credit Parties.
                                                                                   17            3.       Plaintiff is informed and believes, and thereon alleges, that at all relevant
                                                                                   18   times mentioned herein, defendant Kurt Orban Partners, LLC (“KOP” or the
                                                                                   19   “Borrower”) was and is a California limited liability company doing business in the
                                                                                   20   State of California with its principal place of business in Burlingame, California.
                                                                                   21            4.       Plaintiff is informed and believes, and thereon alleges, that at all relevant
                                                                                   22   times mentioned herein, KOP was wholly owned by defendant Kurt Matthew Orban
                                                                                   23   (“Matt Orban”).
                                                                                   24            5.       Plaintiff is informed and believes, and thereon alleges, that at all relevant
                                                                                   25   times mentioned herein, defendant Matt Orban was and is a resident of Hillsborough,
                                                                                   26
                                                                                        1 Plaintiff expressly reserves its rights to apply for a stay of these proceedings, pending arbitration, with the exception of
                                                                                   27   the enforcement of its provisional remedies and the appointment of a receiver, which it intends to continue pursuing in
                                                                                        this Court.
                                                                                   28

                                                                                                                                                    –2–
                                                                                                                                               COMPLAINT
                                                                                    Case 2:20-cv-06191-DSF-JEM Document 1 Filed 07/10/20 Page 3 of 20 Page ID #:3



                                                                                    1   California.
                                                                                    2         Venue and Jurisdiction
                                                                                    3         6.      The parties are of diverse citizenship.
                                                                                    4         7.      The amount in controversy exceeds the sum of $75,000.00, exclusive of
                                                                                    5   interest and costs.
                                                                                    6         8.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332(a).
                                                                                    7         9.      Pursuant to Section 12.5(b) of the KOP Credit Agreement (defined
                                                                                    8   below), Defendants consented to venue being proper in the United States District
                                                                                    9   Court for the Central District of California.
                                                                                   10         10.     Venue is properly in this Court pursuant to 28 U.S.C. § 1391.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         The Loans
                                                                                   12         11.     The Lenders made certain loans and extensions of credit to KOP pursuant
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                                                                                   13   to the terms of that certain Second Amended and Restated Credit Agreement, dated as
                                                                                   14   of November 30, 2017, as amended by that certain First Amendment to Second
                                                                                   15   Amended and Restated Credit Agreement dated as of June 29, 2018, that certain
                                                                                   16   Second Amendment to Second Amended and Restated Credit Agreement and Waiver
                                                                                   17   dated as of March 22, 2019 and that certain Third Amendment to Second Amended
                                                                                   18   and Restated Credit Agreement dated as of June 30, 2019, by and between KOP,
                                                                                   19   Administrative Agent and the lenders party to the Credit Agreement (as amended from
                                                                                   20   time to time, the “Credit Agreement”), including: (i) those certain clean import loans
                                                                                   21   (the “Clean Import Loans”); (ii) those certain loans against imports (the “Loans
                                                                                   22   Against Imports”); (iii) those certain import revolving credit loans (the “Import
                                                                                   23   Revolving Credit Loans”); (iv) those certain tariff revolving credit loans (the “Tariff
                                                                                   24   Revolving Credit Loans”); and (v) those certain letters of credit (the “Letters of
                                                                                   25   Credit”), each made by the Lenders to KOP (collectively, the “Loans”). A true and
                                                                                   26   correct copy of the Credit Agreement, as amended, is attached hereto as Exhibit A
                                                                                   27   and incorporated herein by reference.
                                                                                   28         12.     In connection with the Loans, KOP executed a promissory note in favor

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                                                                                                                                COMPLAINT
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                                                                                    1   of each Lender (collectively, the “Notes”) as follows:
                                                                                    2                (a) that certain Import Line Note in the principal amount of $40,000,000
                                                                                    3                   dated as of “March __, 2019”, made by KOP in favor of
                                                                                    4                   Administrative Agent (the “Wells Fargo Note”);
                                                                                    5                (b) that certain Import Line Note in the principal amount of $15,000,000
                                                                                    6                   dated as of “March __, 2019”, made by KOP in favor of Cathay Bank
                                                                                    7                   (the “ Cathay Bank Note”);
                                                                                    8                (c) that certain Import Line Note in the principal amount of $25,000,000
                                                                                    9                   dated as of “March __, 2019”, made by KOP in favor of Woodforest
                                                                                   10                   National Bank (the “ Woodforest Note”); and
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                (d) that certain Import Line Note in the principal amount of $20,000,000
                                                                                   12                   dated as of “March __, 2019”, made by KOP in favor of City National
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                                                                                   13                   Bank (the “City National Note”).
                                                                                   14         True and correct copies of each of the Notes are attached hereto as Exhibits B,
                                                                                   15         C, D and E respectively, and incorporated herein by reference.
                                                                                   16         13.    In connection with the Loans, Matt Orban guarantied KOP’s obligations
                                                                                   17   to the Lenders up to $17,000,000, plus all accrued and unpaid interest and all costs
                                                                                   18   and expenses pertaining to the enforcement and collection of indebtedness pursuant to
                                                                                   19   that certain Amended and Restated Continuing Guaranty dated as of November 30,
                                                                                   20   2017, executed by Matt Orban in favor of the Plaintiff for the benefit of the Lenders,
                                                                                   21   as amended by that certain Consent of Guarantors dated as of November 30, 2017,
                                                                                   22   executed by Matt Orban and Kurt Orban Partners Limited (“KOP UK”) (as amended,
                                                                                   23   the “Orban Guaranty”). True and correct copies of the Orban Guaranty and the
                                                                                   24   Consent of Guarantors are attached hereto as Exhibit F and Exhibit G and
                                                                                   25   incorporated herein by reference.
                                                                                   26         14.    The Loans are secured by, among other things, accounts, chattel paper,
                                                                                   27   instruments, promissory notes, documents, general intangibles, payment intangibles,
                                                                                   28   software, letter of credit rights, health-care insurances receivables, goods, tools,

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                                                                                                                                COMPLAINT
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                                                                                    1   machinery, furnishings, furniture, other equipment, inventory, raw materials,
                                                                                    2   component parts and embedded software, work in process, materials, warehouse
                                                                                    3   receipts, bills of lading, other documents evidencing goods and all proceeds, as set
                                                                                    4   forth more fully in that certain Amended and Restated Security Agreement: Business
                                                                                    5   Assets dated as of November 30, 2017, executed by KOP in favor of the
                                                                                    6   Administrative Agent for the benefit of itself and the Lenders (the “Security
                                                                                    7   Agreement”). A true and correct copy of the Security Agreement is attached hereto as
                                                                                    8   Exhibit H and incorporated herein by reference.
                                                                                    9         15.    The other agreements and documents executed and delivered in
                                                                                   10   connection with the Loans, together with the Credit Agreement, the Notes, the Orban
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   Guaranty and the Security Agreement are hereinafter referred to as the “Loan
                                                                                   12   Documents”.
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                                                                                   13         KOP’s Events of Default
                                                                                   14         16.    Numerous defaults have occurred under the terms of the Loan
                                                                                   15   Documents, each constituting Events of Default thereunder, as described more fully
                                                                                   16   below.
                                                                                   17         17.    Pursuant to the Credit Agreement, the Loans matured on June 30, 2020
                                                                                   18   and the full amount of the Loans became due and payable. The Loans have not been
                                                                                   19   repaid.
                                                                                   20         18.    Pursuant to the terms of Section 2.1(b) of the Credit Agreement, each
                                                                                   21   Clean Import Loan was required to be repaid within one hundred twenty (120)
                                                                                   22   calendar days from the date of disbursement for those Clean Import Loans in the
                                                                                   23   United States and one hundred fifty (150) days from the date of disbursement for
                                                                                   24   those Clean Import Loans advanced on behalf of KOP UK.
                                                                                   25         19.    In June 2020, prior to the June 30, 2020 maturity date, numerous Clean
                                                                                   26   Import Loans became due and were not repaid.
                                                                                   27         20.    Pursuant to the terms of Section 2.1(c) of the Credit Agreement, each
                                                                                   28   Loan Against Imports was required to be repaid within one hundred twenty (120)

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                                                                                                                              COMPLAINT
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                                                                                    1   calendar days from the date of disbursement for those Loans Against Imports in the
                                                                                    2   United States and one hundred fifty (150) days from the date of disbursement for
                                                                                    3   those Loans Against Imports advanced on behalf of KOP UK.
                                                                                    4         21.     In June 2020, prior to the June 30, 2020 maturity date, numerous Loans
                                                                                    5   Against Imports became due and were not repaid.
                                                                                    6         22.     Pursuant to Section 9.6 of the Credit Agreement, Restricted Payments
                                                                                    7   were not allowed to exceed eighty percent (80%) of Borrower’s consolidated net
                                                                                    8   income for each trailing-twelve-month period, determined as of each month end,
                                                                                    9   calculated on a trailing twelve month basis and determined as of each month end.
                                                                                   10         23.     Based on the Borrower prepared financials statements dated as of
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   December 31, 2019, January 31, 2020, February 29, 2020 and March 31, 2020
                                                                                   12   (collectively, the “Borrower Prepared Financial Statements”), Restricted Payments
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                                                                                   13   exceeded eighty percent (80%) as of each of those dates.
                                                                                   14         24.     Pursuant to Section 9.14(b) of the Credit Agreement, Consolidated
                                                                                   15   Senior Indebtedness divided by Consolidated Tangible Net Worth was not allowed to
                                                                                   16   be greater than 4.75:1.0, determined at the end of each month.
                                                                                   17         25.     Based on the Borrower Prepared Financial Statements, this ratio was
                                                                                   18   greater than 4.75:1.0 as of the date of each of the Borrower Prepared Financial
                                                                                   19   Statements.
                                                                                   20         26.     Pursuant to Section 9.14(c) of the Credit Agreement, net income after
                                                                                   21   taxes of Borrower and its Subsidiaries determined in accordance with GAAP were not
                                                                                   22   allowed to be less than One Dollar ($1.00) on a year-to-date basis, determined as of
                                                                                   23   each month end.
                                                                                   24         27.     Based on the Borrower Prepared Financial Statements, net income after
                                                                                   25   taxes for the year to date periods ending on the date of the Borrower Prepared
                                                                                   26   Financial Statements was negative.
                                                                                   27         28.     Pursuant to Section 9.16(g) of the Credit Agreement, KOP UK’s
                                                                                   28   Consolidated net income determined in accordance with GAAP was not allowed to be

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                                                                                    1   less than £1.00, as of the end of each December 31, as determined on a year-to-date
                                                                                    2   basis at the end of each Fiscal Year.
                                                                                    3         29.    Based on the Borrower Prepared Financial Statements, net income for
                                                                                    4   each such period was negative.
                                                                                    5         30.    Pursuant to Section 8.1(a) of the Credit Agreement, by no later than April
                                                                                    6   30 of each calendar year, Borrower was required to deliver annual audited financial
                                                                                    7   statements for itself and annual reviewed financial statements for KOP UK.
                                                                                    8         31.    To date, no audited and reviewed financial statements have been
                                                                                    9   delivered for the year ending December 31, 2019.
                                                                                   10         Plaintiff’s Rights Under the Loan Documents
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                              32.    Pursuant to Section 10.2 of the Credit Agreement, upon notice to the
                                                                                   12
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                                                                                        Borrower, the Administrative Agent may “[t]erminate the Commitment and declare all
                                                                                   13

                                                                                   14
                                                                                        principal and interest on the Loans and all other amounts due to the Administrative

                                                                                   15
                                                                                        Agent and the Lenders to be immediately due and payable and further exercise all

                                                                                   16
                                                                                        other rights and remedies under Loan Documents and applicable law, to satisfy all

                                                                                   17
                                                                                        Obligations due the Administrative Agent and the Lenders”.

                                                                                   18         33.    Pursuant to Section 7 of the Security Agreement, KOP appointed
                                                                                   19   Administrative Agent as its attorney in fact to perform a number of powers, including:
                                                                                   20                (a)   “to perform any obligation of Debtor hereunder in Debtor’s name
                                                                                   21   or otherwise”;
                                                                                   22                (b)   “to resort to security in any order”;
                                                                                   23                (c)   “to receive, open and read mail addressed to Debtor”;
                                                                                   24                (d)   “to take cash, instruments for the payment of money and other
                                                                                   25   property to which Administrative Agent is entitled”;
                                                                                   26                (e)   “to enter onto Debtor's premises in inspecting the Collateral”; and
                                                                                   27                (f)   “to do all acts and things and execute all documents in the name of
                                                                                   28   Debtor or otherwise, deemed by Administrative Agent as necessary, proper and

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                                                                                    1   convenient in connection with the preservation, perfection or enforcement of its rights
                                                                                    2   hereunder”.
                                                                                    3         34.       Pursuant to Section 10 of the Security Agreement, KOP granted to
                                                                                    4   Administrative Agent, upon the occurrence of an Event of Default, the right, among
                                                                                    5   other things:
                                                                                    6                   (a)   “to contact all persons obligated to Debtor on any Collateral or
                                                                                    7   Proceeds and to instruct such persons to deliver all Collateral and/or Proceeds directly
                                                                                    8   to Administrative Agent”; and
                                                                                    9                   (b)   “to sell, lease, license or otherwise dispose of any or all
                                                                                   10   Collateral.”
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         35.       Pursuant to Section 10 of the Security Agreement, KOP also agreed that
                                                                                   12   “while an Event of Default exists: (a) Debtor will deliver to Administrative Agent
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                                                                                   13   from time to time, as requested by Administrative Agent, current lists of all Collateral
                                                                                   14   and Proceeds; (b) Debtor will not dispose of any Collateral or Proceeds except on
                                                                                   15   terms approved by Administrative Agent; (c) at Administrative Agent’s request,
                                                                                   16   Debtor will assemble and deliver all Collateral and Proceeds, and books and records
                                                                                   17   pertaining thereto, to Administrative at a reasonably convenient place designated by
                                                                                   18   Administrative Agent; (d) Administrative Agent may, at any time, liquidate any time
                                                                                   19   deposits pledged to Administrative Agent hereunder and apply the Proceeds thereof to
                                                                                   20   payment of the Indebtedness, whether or not said time deposits have matured and
                                                                                   21   notwithstanding the fact that such liquidation may give rise to penalties for early
                                                                                   22   withdrawal of funds; and (e), Administrative Agent may, without notice to debtor,
                                                                                   23   enter onto Debtor’s premises an take possession of the Collateral.”
                                                                                   24         Plaintiff’s Demands and Requests, Amounts Due and Owing under Loan
                                                                                   25         Documents
                                                                                   26         36.       By letter dated April 14, 2020 (the “First Default Notice”), Plaintiff
                                                                                   27   notified the Borrower of certain Events of Default under the Credit Agreement. A
                                                                                   28   true and correct copy of the First Default Notice is attached hereto as Exhibit I and

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                                                                                    1   incorporated herein by reference.
                                                                                    2         37.    By letter dated June 10, 2020 (the “Second Default Notice”), Plaintiff
                                                                                    3   notified the Borrower of certain Events of Default under the Credit Agreement. A
                                                                                    4   true and correct copy of the Second Default Notice is attached hereto as Exhibit J and
                                                                                    5   incorporated herein by reference.
                                                                                    6         38.    By letter dated July 1, 2020 (the “Demand Letter”), Plaintiff made
                                                                                    7   written demand on the Borrower for repayment of the full amount due and owing
                                                                                    8   under the Loan Documents. A true and correct copy of the Demand Letter,
                                                                                    9   excerpting the accompanying enclosure, is attached hereto as Exhibit K and
                                                                                   10   incorporated herein by reference.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         39.    By letters dated July 2, 2020 (the “July 2 Letter”) and July 6, 2020 (the
                                                                                   12   “July 6 Letter”), Plaintiff described in detail certain of Borrower’s fraudulent activity.
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                                                                                   13   True and correct copies of the July 2 Letter and the July 6 Letter, excerpting the
                                                                                   14   accompanying enclosures, are attached hereto as Exhibit L and Exhibit M and
                                                                                   15   incorporated herein by reference.
                                                                                   16         40.    As of July 9, 2020, the amounts due and owing under the Loan
                                                                                   17   Documents include the following, in addition to accrued interest and fees and costs of
                                                                                   18   Lenders in connection with the enforcement of its rights and remedies under the Loan
                                                                                   19   Documents, including legal fees and costs.
                                                                                   20                $71,120,630 of principal with respect to Clean Import Loans, the full
                                                                                   21   amount of which is matured and fully due and owing.
                                                                                   22                $3,259,411 of principal with respect to Loans Against Imports, the full
                                                                                   23   amount of which is matured and fully due and owing.
                                                                                   24                $2,181,706 of principal with respect to Import Revolving Credit Loans,
                                                                                   25   the full amount of which is matured and fully due and owing.
                                                                                   26                $1,100,000 of principal with respect to Tariff Revolving Credit Loans,
                                                                                   27   the full amount of which is matured and fully due and owing.
                                                                                   28

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                                                                                                                                COMPLAINT
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                                                                                    1                $4,817,449 to 100% cash collateralize all outstanding Letters of Credit in
                                                                                    2   accordance with Section 10.2(b) of the Credit Agreement.
                                                                                    3         41.    All amounts owed under the Loan Documents are immediately due and
                                                                                    4   payable in full.
                                                                                    5         42.    Pursuant to the terms of the Loan Documents, Plaintiff is entitled to
                                                                                    6   recover all costs and expenses that Plaintiff may incur in enforcing its rights, remedies
                                                                                    7   and powers. Plaintiff has been compelled to retain the services of attorneys and have
                                                                                    8   incurred and will continue to incur such costs and expenses. Plaintiff prays leave of
                                                                                    9   court to amend this Complaint when said costs and expenses have been determined.
                                                                                   10         43.    Plaintiff has performed all of the terms and conditions on its part to be
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   performed under the terms of the Loan Documents.
                                                                                   12         44.    As set forth in greater detail in Section 12.6(b) of the Credit Agreement,
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                                                                                   13   the Credit Agreement provides for binding arbitration upon the demand of any party
                                                                                   14   to the Credit Agreement. Plaintiff hereby demands arbitration in accordance with
                                                                                   15   Section 12.6(b) of the Credit Agreement.
                                                                                   16                               FIRST CAUSE OF ACTION
                                                                                   17                                    (Breach of Contract)
                                                                                   18                                  Against Defendant KOP
                                                                                   19         45.    Plaintiff repeats and re-alleges all of the allegations contained in the
                                                                                   20   preceding paragraphs of this Complaint as if the same were fully set forth at length
                                                                                   21   herein.
                                                                                   22         46.    The Credit Agreement constitutes a legal, binding and enforceable
                                                                                   23   contract between Plaintiff and KOP.
                                                                                   24         47.    Pursuant to the Credit Agreement, KOP agreed to and proposed to
                                                                                   25   perform certain covenants and make certain payments as set forth above.
                                                                                   26         48.    The Administrative Agent and the Lenders relied on the promises made
                                                                                   27   by KOP in connection with the Loans when the Lenders lent money to and made other
                                                                                   28   financial accommodations to KOP.

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                                                                                                                               COMPLAINT
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                                                                                    1         49.      As set forth at length above, KOP has failed to comply with various
                                                                                    2   covenants and make certain payments under the Credit Agreement and the.
                                                                                    3         50.      Plaintiff made reasonable demand for compliance in accordance with the
                                                                                    4   Credit Agreement and the Notes.
                                                                                    5         51.      The Maturity Date has occurred, and has not been extended. Despite
                                                                                    6   demand, KOP failed to satisfy all amounts due under the Loan Documents on the
                                                                                    7   Maturity Date.
                                                                                    8         52.      KOP’s default on the obligations under the terms of the Credit
                                                                                    9   Agreement, the Security Agreement and the Notes constitutes a breach of KOP’s
                                                                                   10   obligations thereunder.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         53.      KOP is, and continues to be, in breach of its obligations under the Credit
                                                                                   12   Agreement, the Security Agreement and the Notes.
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                                                                                   13         54.      The breaches of the Credit Agreement, the Security Agreement and the
                                                                                   14   Notes have occurred, are continuing and cannot be cured.
                                                                                   15         55.      As a result of the occurrence of the breach of the Credit Agreement, the
                                                                                   16   Security Agreement and the Notes, the Plaintiff has been damaged in the amount of
                                                                                   17   the Loans (or such other amounts as determined to be due at trial), plus additional
                                                                                   18   interest accrued, late fees, appraisal fees, attorneys’ fees and costs, and such other
                                                                                   19   amounts as may be proven at trial of this action. In addition, KOP will owe Plaintiff
                                                                                   20   further interest, costs, and attorneys’ fees incurred by Plaintiff through the date of trial
                                                                                   21   in this matter.
                                                                                   22         56.      The Plaintiff has at all times fully and properly performed its obligations
                                                                                   23   under the Loan Documents and all conditions precedent have been performed by the
                                                                                   24   Plaintiff or have otherwise occurred to establish the Plaintiff’s right to recover the
                                                                                   25   Obligations.
                                                                                   26         57.      All conditions precedent to entry of judgement have occurred, have been
                                                                                   27   performed or have been waived.
                                                                                   28

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                                                                                                                                 COMPLAINT
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                                                                                    1                              SECOND CAUSE OF ACTION
                                                                                    2                                       (Money Lent)
                                                                                    3                                 Against Defendant KOP
                                                                                    4         58.    The Administrative Agent repeats and re-alleges all of the allegations
                                                                                    5   contained in the preceding paragraphs of the Complaint as if same were fully set forth
                                                                                    6   at length herein.
                                                                                    7         59.    The Credit Agreement and the Notes constitute legal, binding and
                                                                                    8   enforceable contracts between Plaintiff, Lenders and KOP.
                                                                                    9         60.    Pursuant to the Credit Agreement and the Notes, the Administrative
                                                                                   10   Agent and the Lenders agreed to make certain loans and credit accommodations
                 A limited liability partnership formed in the State of Delaware




                                                                                   11   available to KOP.
                                                                                   12         61.    KOP agreed to and proposed to make certain payments as set forth
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                                                                                   13   above.
                                                                                   14         62.    The Administrative Agent and the Lenders relied on the promises made
                                                                                   15   by KOP in connection with the Loans when the Lenders lent money to and made other
                                                                                   16   financial accommodations to KOP.
                                                                                   17         63.    As set forth at length above, KOP has failed to make certain payments
                                                                                   18   under the Credit Agreement and the Notes as and when due.
                                                                                   19         64.    Plaintiff made reasonable demand for compliance in accordance with the
                                                                                   20   Credit Agreement and the Notes.
                                                                                   21         65.    The Maturity Date has occurred, and has not been extended. Despite
                                                                                   22   demand, KOP failed to satisfy all amounts due under the Loan Documents on the
                                                                                   23   Maturity Date.
                                                                                   24         66.    KOP’s default on the obligations under the terms of the Credit
                                                                                   25   Agreement and the Notes constitutes a breach of KOP’s obligations thereunder.
                                                                                   26         67.    KOP is, and continues to be, in breach of its obligations under the Credit
                                                                                   27   Agreement and the Notes.
                                                                                   28         68.    The breaches of the Credit Agreement and the Notes have occurred, are

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                                                                                    1   continuing and cannot be cured.
                                                                                    2         69.      As a result of the occurrence of the breaches of the Credit Agreement and
                                                                                    3   the Notes, the Plaintiff has been damaged in the amount of the Loans (or such other
                                                                                    4   amounts as determined to be due at trial), plus additional interest accrued, late fees,
                                                                                    5   appraisal fees, attorneys’ fees and costs, and such other amounts as may be proven at
                                                                                    6   trial of this action. In addition, KOP will owe Plaintiff further interest, costs, and
                                                                                    7   attorneys’ fees incurred by Plaintiff through the date of trial in this matter.
                                                                                    8         70.      The Plaintiff has at all times fully and properly performed its obligations
                                                                                    9   under the Loan Documents and all conditions precedent have been performed by the
                                                                                   10   Plaintiff or have otherwise occurred to establish the Plaintiff’s right to recover the
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                                                                                   11   Obligations.
                                                                                   12         71.      All conditions precedent to entry of judgement have occurred, have been
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                                                                                   13   performed or have been waived.
                                                                                   14         72.      Within the last four years, KOP became indebted to Plaintiff in a sum not
                                                                                   15   less than $82,479,197, plus fees and costs, including the cost of appraisals and the
                                                                                   16   hiring of a consultant, and attorneys’ fees and costs; plus interest, plus other amounts
                                                                                   17   permitted under the Loan Documents that have and continue to accrue, for money lent
                                                                                   18   by Plaintiff to KOP at KOP’s requests.
                                                                                   19         73.      The foregoing sums remain unpaid by KOP, although demand therefor
                                                                                   20   has been made.
                                                                                   21                                THIRD CAUSE OF ACTION
                                                                                   22                                     (Breach of Guaranty)
                                                                                   23                                Against Defendant Matt Orban
                                                                                   24         74.      The Administrative Agent repeats and re-alleges all of the allegations
                                                                                   25   contained in the preceding paragraphs of the Complaint as if same were fully set forth
                                                                                   26   at length herein.
                                                                                   27         75.      The Orban Guaranty constitutes a legal, binding and enforceable contract
                                                                                   28   between Plaintiff and Matt Orban.

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                                                                                    1         76.    Pursuant to the Orban Guaranty, Matt Orban agreed to and proposed to
                                                                                    2   perform certain covenants and make certain payments as set forth above.
                                                                                    3         77.    The Administrative Agent and the Lenders relied on the promises made
                                                                                    4   by Matt Orban in connection with the Loans when the Lenders lent money to and
                                                                                    5   made other financial accommodations to KOP.
                                                                                    6         78.    As set forth at length above, KOP has failed to perform the covenants and
                                                                                    7   make certain payments under the Credit Agreement and the Notes.
                                                                                    8         79.    The Maturity Date has occurred, and has not been extended. Despite
                                                                                    9   demand, KOP failed to satisfy all amounts due under the Loan Documents on the
                                                                                   10   Maturity Date.
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                                                                                   11         80.    As set forth at length above, Matt Orban has failed to perform the
                                                                                   12   covenants and make certain payments under the Orban Guaranty.
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                                                                                   13         81.    Plaintiff made reasonable demand for compliance in accordance with the
                                                                                   14   Orban Guaranty.
                                                                                   15         82.    Matt Orban’s defaults on the obligations under the terms of the Orban
                                                                                   16   Guaranty constitutes a breach of Matt Orban’s obligations thereunder.
                                                                                   17         83.    Matt Orban is, and continues to be, in breach of his obligations under the
                                                                                   18   Orban Guaranty.
                                                                                   19         84.    The breaches of the Orban Guaranty have occurred, are continuing and
                                                                                   20   cannot be cured.
                                                                                   21         85.    As a result of the occurrence of the breach of the Orban Guaranty, the
                                                                                   22   Plaintiff has been damaged in the amount of the Loans (or such other amounts as
                                                                                   23   determined to be due at trial), plus additional interest accrued, late fees, appraisal fees,
                                                                                   24   attorneys’ fees and costs, and such other amounts as may be proven at trial of this
                                                                                   25   action. In addition, KOP will owe Plaintiff further interest, costs, and attorneys’ fees
                                                                                   26   incurred by Plaintiff through the date of trial in this matter.
                                                                                   27         86.    The Plaintiff has at all times fully and properly performed its obligations
                                                                                   28   under the Loan Documents and all conditions precedent have been performed by the

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                                                                                    1   Plaintiff or have otherwise occurred to establish the Plaintiff’s right to recover the
                                                                                    2   Obligations.
                                                                                    3          87.     All conditions precedent to entry of judgment have occurred, have been
                                                                                    4   performed or have been waived.
                                                                                    5          88.     Under the terms of the Orban Guaranty, Matt Orban is obligated to
                                                                                    6   reimburse Administrative Agent for all fees, costs and expenses incurred by
                                                                                    7   Administrative Agent or its counsel in connection with the enforcement of Plaintiff’s
                                                                                    8   rights under the Loans and the Orban Guaranty, and the collection of all amounts
                                                                                    9   owing under same. Administrative Agent has incurred such fees, costs and expenses
                                                                                   10   and will continue in the future to incur the same.
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                                                                                   11          89.     Plaintiff relied on the respective promises made by Matt Orban in the
                                                                                   12   Orban Guaranty in connection with the Loans when it lent money to and made other
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                                                                                   13   financial accommodations available to KOP.
                                                                                   14          90.     Matt Orban has breached and defaulted on his obligations to Plaintiff
                                                                                   15   under the Orban Guaranty by failing to repay, after demand, the indebtedness owed by
                                                                                   16   KOP to Plaintiff.
                                                                                   17          91.     There is now due, owing, and unpaid from KOP to Plaintiff under the
                                                                                   18   Loans, which Matt Orban guarantied, an amount in excess of $17,000,000, plus
                                                                                   19   additional interest accrued, late fees, appraisal fees, attorneys’ fees and costs, and such
                                                                                   20   other amounts as may be proven at trial of this action. In addition, Matt Orban will
                                                                                   21   owe Plaintiff further interest, costs, and attorneys’ fees incurred by Plaintiff through
                                                                                   22   the date of trial in this matter.
                                                                                   23

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                                                                                    1                                        FOURTH CAUSE OF ACTION
                                                                                    2                           (For Specific Performance of Security Agreement
                                                                                    3                                         and Appointment of Receiver2)
                                                                                    4                                                Against all Defendants
                                                                                    5            92.      The Administrative Agent repeats and re-alleges all of the allegations
                                                                                    6   contained in the preceding paragraphs of the Complaint as if same were fully set forth
                                                                                    7   at length herein.
                                                                                    8            93.      Based on the questionable transactions outlined in Exhibit L and Exhibit
                                                                                    9   M, pursuant to the Security Agreement, KOP agreed that upon the occurrence of an
                                                                                   10   Event of Default, Administrative Agent may take numerous actions to enforce its
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                                                                                   11   rights to collect the collateral secured by the Security Agreement, including contacting
                                                                                   12   account debtors of KOP, repossessing the collateral, and selling or otherwise
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                                                                                   13   disposing of the collateral.
                                                                                   14            94.      Plaintiff is informed and believes and thereon alleges that unless a
                                                                                   15   receiver is appointed to enforce Plaintiff’s rights under the Security Agreement, and
                                                                                   16   KOP is enjoined presently and during the pendency of this action from collecting any
                                                                                   17   proceeds from any such collateral and from interfering in any manner with the
                                                                                   18   collateral or its possession, Plaintiff will suffer great and irreparable injury through the
                                                                                   19   loss and/or dissipation thereof.
                                                                                   20                                           FIFTH CAUSE OF ACTION
                                                                                   21                                                 (Claim and Delivery)
                                                                                   22                                               Against Defendant KOP
                                                                                   23            95.      The Administrative Agent repeats and re-alleges all of the allegations
                                                                                   24   contained in the preceding paragraphs of the Complaint as if same were fully set forth
                                                                                   25   at length herein.
                                                                                   26
                                                                                        2        Simultaneously with the filing of this Complaint, Plaintiff is filing with the United States District Court for the
                                                                                   27   Central District of California an Application for Appointment of Receiver, Temporary Restraining Order and Order to
                                                                                        Show Cause with respect to KOP on grounds including but not limited to fraudulent conduct by KOP and Matt Orban.
                                                                                   28

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                                                                                    1         96.    This claim is brought pursuant to California Code of Civil Procedure
                                                                                    2   section 511.010, et seq.
                                                                                    3         97.    The terms of the Security Agreement provide that, upon the occurrence
                                                                                    4   of an Event of Default, Administrative Agent is entitled to take immediate possession
                                                                                    5   of all collateral described therein, including the proceeds thereof. By reason of the
                                                                                    6   aforementioned defaults by KOP, Administrative Agent is entitled under the Security
                                                                                    7   Agreement to the immediate surrender, return and possession of the collateral and/or
                                                                                    8   proceeds thereof.
                                                                                    9         98.    Plaintiff hereby demands that possession of any collateral and/or
                                                                                   10   proceeds thereof be delivered to Administrative Agent.
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                                                                                   11                               SIXTH CAUSE OF ACTION
                                                                                   12                                     (Injunctive Relief)
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                                                                                   13                                   Against All Defendants
                                                                                   14         99.    The Administrative Agent repeats and re-alleges all of the allegations
                                                                                   15   contained in the preceding paragraphs of the Complaint as if same were fully set forth
                                                                                   16   at length herein.
                                                                                   17         100. Based on the questionable transactions outlined in Exhibit L and Exhibit
                                                                                   18   M, Plaintiff will suffer irreparable injury for which no adequate remedy at law exists
                                                                                   19   unless KOP and other persons and firms having knowledge of an injunction are: (i)
                                                                                   20   enjoined from continuing to use the collateral; (ii) ordered to advise Administrative
                                                                                   21   Agent of the exact location of each item of collateral; and (iii) ordered to surrender the
                                                                                   22   collateral to Administrative Agent.
                                                                                   23

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                                                                                    1   WHEREFORE, Plaintiff prays for relief as hereinafter set forth.
                                                                                    2                             ON ITS FIRST CAUSE OF ACTION
                                                                                    3         1.        For judgment against KOP in the following amounts as of July 9, 2020:
                                                                                    4   $82,479,197, plus fees and costs, including the cost of appraisals and the hiring of a
                                                                                    5   consultant; and additional interest and default interest at the contractual rates set forth
                                                                                    6   in the Notes;
                                                                                    7         2.        For claim and delivery and specific performance under the Loan
                                                                                    8   Documents;
                                                                                    9         3.        For reasonable attorneys’ fees and costs according to proof against KOP;
                                                                                   10         4.        For costs of suit herein incurred against KOP; and
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                                                                                   11         5.        For such other and further relief as the Court may deem proper.
                                                                                   12
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                                                                                   13                           ON ITS SECOND CAUSE OF ACTION
                                                                                   14         1.        For judgment against KOP in the following amounts as of July 9, 2020:
                                                                                   15   $82,479,197, plus fees and costs, including the cost of appraisals and the hiring of a
                                                                                   16   consultant; and additional interest and default interest at the contractual rates set forth
                                                                                   17   in the Notes;
                                                                                   18         2.        For reasonable attorneys’ fees and costs according to proof against KOP;
                                                                                   19         3.        For costs of suit herein incurred against KOP; and
                                                                                   20         4.        For such other and further relief as the Court may deem proper
                                                                                   21

                                                                                   22                             ON ITS THIRD CAUSE OF ACTION
                                                                                   23         1.        For judgment against Matt Orban in the following amounts as of July 9,
                                                                                   24   2020: $17,000,000, plus fees and costs, including the cost of appraisals and the hiring
                                                                                   25   of a consultant; and additional interest and default interest at the contractual rates set
                                                                                   26   forth in the Notes;
                                                                                   27         2.        For reasonable attorneys’ fees and costs according to proof against the
                                                                                   28   Guarantors;

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                                                                                    1         3.     For costs of suit herein incurred against Matt Orban; and
                                                                                    2         4.     For such other and further relief as the Court may deem proper.
                                                                                    3

                                                                                    4                         ON ITS FOURTH CAUSE OF ACTION
                                                                                    5         1.     For specific performance of the Security Agreement;
                                                                                    6         2.     For appointment of a receiver: (i) to take possession of the the collateral
                                                                                    7   secured by the Security Agreement and to operate KOP’s business in order to protect
                                                                                    8   and collect such collateral and (ii) for such other relief as this Court deems appropriate
                                                                                    9   pursuant to an order appointing such receiver.
                                                                                   10         3.     An order that KOP and anyone holding under KOP deliver possession of
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                                                                                   11   the collateral secured by the Security Agreement to the receiver;
                                                                                   12         4.     For reasonable attorneys’ fees according to proof against KOP;
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                                                                                   13         5.     For costs of suit herein incurred against KOP; and
                                                                                   14         6.     For such other and further relief as the Court may deem proper.
                                                                                   15

                                                                                   16                           ON ITS FIFTH CAUSE OF ACTION
                                                                                   17         1.     For an order directing KOP to turn over to Administrative Agent, or to a
                                                                                   18   court-appointed receiver for the benefit of Plaintiff, any collateral secured by the
                                                                                   19   Security Agreement and all proceeds thereof, or if such collateral cannot be delivered,
                                                                                   20   for its value in a sum to be established according to proof;
                                                                                   21         2.     For reasonable attorneys’ fees according to proof against KOP;
                                                                                   22         3.     For costs of suit herein incurred against KOP; and
                                                                                   23         4.     For such other and further relief as the Court may deem proper.
                                                                                   24

                                                                                   25                           ON ITS SIXTH CAUSE OF ACTION
                                                                                   26         1.     For an order that: (a) KOP, MATT ORBAN and other persons and firms
                                                                                   27   having knowledge of the injunction, including without limitation the officers and
                                                                                   28   directors of KOP, be temporarily, preliminarily, and permanently enjoined from using

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                                                                                    1   the collateral as of the date of the entry of the injunction order; (b) requires KOP and
                                                                                    2   Matt Orban to disclose to Administrative Agent the precise location of each item of
                                                                                    3   collateral; (c) requires KOP to recover any collateral in the possession of third parties
                                                                                    4   for delivery to Administrative Agent; and (d) KOP and Matt Orban be temporarily,
                                                                                    5   preliminarily, and permanently enjoined from restricting access of Administrative
                                                                                    6   Agent and its agents or assigns to the collateral;
                                                                                    7         2.     For reasonable attorneys’ fees according to proof against KOP;
                                                                                    8         3.     For costs of suit herein incurred against KOP; and
                                                                                    9         4.     For such other and further relief as the Court may deem proper.
                                                                                   10
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                                                                                   12         DATED: July 10, 2020.
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                                                                                                                                By      /s/ Jonathan D. Gershon
                                                                                   16                                                Marsha A. Houston
                                                                                                                                     Jonathan D. Gershon
                                                                                   17                                                Matthew E. Tashman
                                                                                                                                     Attorneys for Wells Fargo Bank, National
                                                                                   18                                                Association

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